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             UNITED STATES DISTRICT COURT
                DISTRICT OF CONNECTICUT


CORALYS NEGRON ET AL

V.                                       CASENO.3:17-CV-00583 JCH


PATRIOT AUTO SALES, LLC, ET AL


                                             OCTOBER 23,20T7



                                MOTIOI{ TO COMPEL


pursuant to FRCP 37(aX3XB)(iii) and (iv)" Local Rules 37 and 7(a). the Defendant Jason Winer

moves this Court for an order Compelling the Plaintiff Coralys Negron to answer and produce

certain Interrogatories and Requests for Production more particularly described in the attached

Memoranda.




Defendant Jason Winer

BY    +-Za-Z--
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     30 Ferry Boulevard Unttz
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              UNITED STATES DISTRICT COURT
                DISTRICT OF CONI{ECTICUT


CORALYS NEGRON ET AL

v.                                        CASENO.3:17-CV-00583 JCH


PATRIOT AUTO SALES, LLC, ET AL


                                              ocToBER 23,2017


                      MEMORANDA PURSUANT TO LOCAL RULES OF
                      crvrl PROCEDURE 37 AND 7(A)

       BRIEF FACTUAL HISTORY

On July 24,2017 . the Defendant Jason Winer served Interrogatories and Request for Production

on the Plaintiff Coralys Negron pursuant to FRCP Sections 33 and 34. The Plaintiff Coralys

Negron thereafter filed a Motion for Extension of Time requesting until September 25, 2017 to

file answers or objections to the Intenogatories and Requests for Production. The Motion for

Extension of time was granted by Magistrate Merriam. On September 22,2A17 the Plaintiff

Corla-vs Negron served on the Defendant Jason Winer answers and objections to the

Intemogatories and Requests fbr Production. On October 13,2017, the undersigned counsel for

the Defendant.Tason Winer had a telephonic conference with Attorney Brendan Mahoney,

counsel for the Plaintiff Coralys Negron. to attempt in good faith to resolve the objections to the

Interrogatories and Requests for Production. Counsel fbr the Defendant Jason Winer and
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Counsel for the Plaintiff Coralys Negron were able to resolve some of the issues related to

certain obiections but were not able to resolve issues related to other objections. See Affidavit

Pursuant to Local Rule 37 attached hereto as Exhibit   A'


       SPECIFIC INTERROGATORIES AND REQUEST FOR PRODUCTION
       OBJECTED TO OF WIIICH THE DEFENDANT JASON WINER SEEKS THE
       COURT TO COMPEL THE PLAINTIFF CORALYS NEGRON TO ANSWER OR
       PRODUCE.


Intorrogatory number 20 which states "Howmuch money did you spend in gas per week

driving the vehicle to and from your employment from the time you purchased the vehicle until

you returned the vehicle to the Bank.?"

The Defendant Jason Winer seeks an answer to lnterrogatory number 20 because the Plaintiff

Corlays Negron claims in her Complaint breach of express and implied warranties that the

vehicle was not fit for the ordinary puryose for which cars are used from the date of purchase      of

the vehicle and misrepresentation of the condition of the vehicle in violation of the

Connecticut Unfair Trade Practices   Act. Specifically, the PlaintiffCoralys Negron claims in her

complaint that the vehicle had a defective engine at the time of sale. Therefore, the amount   of

money the Plaintiff Corlays Negron spent on gas per week to and from her employment is

relevant to show use of the vehicle which is inconsistent with the claim that the engine was

defective at the time of sale.




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Interrogatory number 2L which states " Did you use the vehicle to travel on vacation or other

recreational activities from the time you purchased the vehicle until you returned the vehicle to

the Bank.?"




The Defendant Jason Winer seeks an answer to Interrogatory number 21 because the Plaintiff

Corlays Negron claims in her Complaint breach of express and implied warranties that the

vehicle was not fit for the ordinary purpose for which cars are used for from the date of purchase

of the vehicle and misrepresentation of the condition of the vehicle in violation of the

Connecticut Uniair Trade Practices   Act. Specifically, the Plaintiff Coralys Negron claims in her

complaint that the vehicle had a defective engine at the time of sale. Therefore. if the Plaintiff

Corla.vs Negron used the vehicle to tmvel on vacation or to other recreational activities this is

relevant to show use of the vehicle which is inconsistent with the claim that the engine was

defective at the time of sale.




Interrogatory number 22 which states " If the answer to question 21 is yes" please state where

you drove the vehicle for vacation or other recreational activities."


The Defendant Jason Winer seeks an ans\^'er to Inter:rogatory number 22 because the Plaintiff

Corlays Negron claims in her Complaint breach of express and implied warranties that the

vehicle was not fit for the ordinary pulpose lbr which cars are used for from the date of purchase

of the vehicle and misrepresentation of the condition of the vehicle in violation of the



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Connecticut Unfair Trade Practices   Act. Specifically" the Plaintiff Coralys Negron claims in her

complaint that the vehicle had a defective engine at the time of sale. Therefore. if the Plaintiff

Corlays Negron used the vehicle to travel on vacation or to other recreational activities this is

relevant to show use of thevehicle which is inconsistent with the claim that the engine was

defective at the time of sale.




Interrogatory numtrer 23 which states " How often did you       use the vehicle   for grocery

shopping, clothing shopping. and other daily chores from the time you purchased the vehicle

until you returned the vehicle to the Bank.?"


The Defendant Jason Winer seeks an answer to Interrogatory number 23 because the Plaintiff

Corlays Negron claims in her Complaint breach of express and implied waranties that the

vehicle was not fit for the ordinary purpose for which cars are used tbr from the date of purchase

of the vehicle and misrepresentation of the condition of the vehicle in violation of the

Connecticut Unfair Trade Practices    Act. Specifically, the Plaintiff Coralys Negron claims in her

complaint that the vehicle had a defective engine at the time of sale. Therefore, if the Plaintiff

Corlays Negron used the vehicle to go grocery shopping, clothing shopping and for other daily

chores this is relevant to show use of the vehicle which is inconsistent with the claim that the

engine was def-ective at the time of sale.




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Interrogatory number 24 which states " Please identify any and all passengers with name and

address w-ho drove with you from the time you purchased the vehicle until you returned the

vehicle to the Bank."


The Defendant Jason Winer seeks an answer to Interrogatorv number 24 because the Plaintiff

Corlays Negron claims in her Complaint breach of express and implied warranties that the

vehicle was not fit for the ordinary purpose for which cars are used for from the date of purchase

of the vehicle and misrepresentation of the condition of the vehicle in violation of the

Connecticut Unfair Trade Practices    Act. Specifically, the Plaintiff Coralys Negron claims in her

complaint that the vehicle had a defective engine at the time of sale. Therefore,           an1, passengers

who drove with the Plaintiff Corlays Negron are relevant and potential witnesses in this case to

defeat the   claim that the engine of the vehicle was defective   at the time   of sale.




Request for Production number 7 which states " Please produce a copy of the credit report

used by the bank to approve your loan for the vehicle."




The Defendant Jason Winer seeks production or an authorrzatronto obtain the Plaintiffs credit

repoft because she claims as damages in her CUPTA count that she was hindered in obtaining

another vehicle because of the debt owed to the Bank in this transaction and it            is relevant to

show why the the Plaintiff Corlays Negron needed to use a sub prime lender in this transaction                .
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Attached hereto as Exhibit B are the Interrogatories and Requests for Production in dispute.


Defendant Jason Winer

       -!:-ir   -.<' ,'   z'.:' :'
BY
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     30 Ferry Boulevard Unit 2
     Stratford" Connecticut 066 1 5
     P- 203-870-8254
     F- 203-306-3275
     Email : Laurenbec@aol. com
     Fed Bar no. ct 29288




CERTIFICATION OF SERVICE


I hereby cefiify that on October 24. 2017 a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic   filing. Notice of this filing will be sent b.v

operation of the Court's electronic filing system.

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        -4


Lauren Winer Beck, Esq.
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                      E)C{IBIT A


         ATFIDAVIT PURSUAI\IT TO LOCAL RULE OF CTVIL PROCDURE 37(A)


The undersigned being duly sworn hereby deposes and says:


   1.    I am over the age of eighteen years and believe in the obligation of an oath.

   2.    I am counsel for the Defendant Jason Winer in the matter entitled Coralys Negron and
         Francisco Negron v. Patriot Auto Sales LLC and Jason Winer pending in the US District
         Court District of Connecticut No. 3:17 CV-00583-JCH.


   1
         On October 13,Z$fi at2:A0 PM I had a telephonic conference with Counsel for the
         Plaintiff Corlays Negron Attorney Brendan Mahoney.

   4.    The purpose of the conference was to try anresolve, without Court intervention, certain
         objections the Plaintiff Corlays Negron had to Interrogatories and Requests for
         Production served by the Defendant Jason Winer on the said Plaintiffon July 24,2017.

   5.    The Plaintiff Coralys Negron agreed to answer interrogatories 17, 18, 19 and produce
         documents related to Request for Production number 6 and therefore withdraw her
         objections to the same.

   6.    The Plaintiff Coralys Negron will not answer and maintains her objections to
         Interrogatoies20,2l,22,23 atd24 and Request for Production number 7.


        4-a-fr-
       Lauren Winer Beck, Esq


Subscribed to and sworn before me on this 24n day of October 2017.




Daniel H. Kryzanski
Commissioner of the Superior Court
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                   EX{IBIT B

COPIES OF INTERROGATORTES AND REQUESTS FOR PRODUCTION IN DISPUTE
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ANSWER: OBJBCTION. The Plaintiff objects to this interrogatory          as irelevant and not likely to
lead to the discovery of aclrnissible evidence. The manner of usage of the  vehicle is not relevant to the
claims or any defenses. Notwithstanding the objection, Plaintiff refers to her response to interrogatory
No. I concerning the amount of miles she drove the vehicle while it rvas in her possession,



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ANSWER:            See objection and response to number 18 above.




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 ANSWER:            See objection and ansrverto number              l8 above.



21. Diii voLi Lt\i tiic Vchiclc ir] trilvcl on vacatiotr ()t olilcr rc,:t'ctititttlitl iiciiYilics i'lilltr ll',c tiirlt
    ),(),,r ilrirchascri tire Vchiclc urttii r,ou rctlrrltcil
                                                              thc Vehicle to ti:c Batri.',)

 ANSWER:            See ob.jection and anslver to nr:mber 18 above.



21. if thc lir'ls!1'cr to rlnr\tirxi 2l i; ye:. Plcllrc            -\1i.llc   \\ilci'c lilii rlt'tlvc thc \"chicic lilr
    \iiiLrri;r)ii t-.1 olltct' reclcati()llal itciiviti*:'

 ANSWER:             See objection and ansrver to           nutrber 18 above.



2.-1.   [{crv ol'!"-n iiiii -\'i-;il tr:rr thc \r;iii;ic li:r glocclv shrrpping" cloiiri:lg rhilppin.t lirttl otjler                tliiii-r,'

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        io titc B:i;rk'l

  ANSIVER:           See objection and ansrver to number 18 above'
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E.   Please identif_v *ny and ail passengers. with nan:e and address, rvho drove with you fiom
     the tinre you purchased the Vehiclc untii yon returned the Vehicle to the Banh.

ANSWER:       See objection and answer to number 18 above.


25. Please state how rnitn], monthiy piryme nts yori made to the Bank pcr the Contraci tiom the
    date you purchased Vehicle to the date you reiurned tl-re Vehicle to the Bank.

ANSWER:       1.



                                               PLAINTIFF, CORALYS NEGRON
                                               AS TO THE OBJECTIONS ONLY:


                                                   Daniel S. Blinn (ct 02188)
                                                   Consumer Larv Group, LLC
                                                   35 Cold Spring Road, Suite 5 12
                                                   Rocky Hill, CT 06067
                                                   Tel: (860) 571-0408
                                                   Fax: (860) 511-7451
                                                   db I i nn @ c on sumerl arv group. co nl
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5.      Please Srrcciuce copies o1':uty,ierters vott uirote -!o thc rleftnd;int         orPatriot Auto Saics LI-C
        r!:voking   acce   platlce   oltht Vehiclc"

RESPONSE: See letter from Attorney Daniel S. Blinn to defendant dated March 9,ZAn and produced
with Plaintiffs' Rule 26(a) Disclosures.



6.      Pleasc ploiiuce copics of an-r, sociai ricdia po\tings via tiicebcok. tu.'itler, insiagratl or ihe
        like rcgarcling iitly insiancr -vori nlintioneri titc purchase of the Vr:hicle. thc sr"ihject malter
        of this larvsuit. ()r any other postilrgs relatcd io the delencl:tiit or Pailioi ALrto Saies I-[-C'

RESPONSE: OBJECTION. The Plaintiff objects to this request as overly broad, irreievant and not
likely to lead to the discovery of admissible evidence. Instead, it is meant to harass the Plaintiff and
constitutes a fishing expedition on the part of the defendant.


7   .   Please prodlce a copy          r-rl thc-   creclit report .;serl by tire Bank to ilpprol'e Yottr   ltltn lor the
         Vchicie.

RESPONSE: OBJECTION. The Plaintiff objects to this request as irrelevant and not likely to lead
to the discovery of admissible evidence. The credit report used by the Bank has no relevance to the
issues alleged in the Complaint. Notwithstanding the objection, none in Plaintiff s possession.


                                                               PLAINTIFF, CORALYS NEGRON
                                                               AS TO THE OBJECTIONS ONLY:




                                                                         iel S. Blinn (ct 02188)
                                                                    Consumer Law GrouP, LLC
                                                                    35 Cold Spring Road, Suite 512
                                                                    Rocky Hill, CT 06067
                                                                    Tel: (860) 571-0408
                                                                    Fax: (860) 571-7457
                                                                    dblinn @ consumerlawgroup.com
